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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
www.fisb.uscourts.gov

In re: Elias Garcia & Damaris Lopez Case No: 13-25511-AJC
Chapter 13

Debtors /

MOTION TO VALUE AND DETERMINE SECURED STATUS OF LIEN
ON REAL PROPERTY

IMPORTANT NOTICE TO CREDITORS:
THIS IS A MOTION TO VALUE YOUR COLLATERAL

This Motion seeks to value collateral described below securing the claim of
the creditor listed below.

 

iF YOU DISPUTE THE VALUE ALLEGED OR TREATMENT OF YOUR CLAIM

PROPOSED IN THIS MOTION, YOU MUST FILE A WRITTEN OBJECTION NO

LATER THAN TWO BUSINESS DAYS PRIOR TO THE SCHEDULED HEARING
[SEE LOCAL RULE 3015-3(A)(2)]

If you have not filed a proof of claim, you have until the later of the claims bar
date or 21 days from the date this Motion was served upon you to file a proof
of claim or you will be deemed to have waived the right to payment of any
unsecured claim to which you might otherwise be entitled. [See Local Rule
3015-3(A)(4)]

1. Pursuant to 11 U.S.C. §506, Bankruptcy Rule 3012, and Local Rule 3015-3, the debtor

seeks to value real property securing the claim of Wells Fargo Bank (the “Lender’). Lender
holds a mortgage recorded on 12/01/2007 at OR Book 26077 Page 4925 in the official
records of Miami-Dade County, Florida.

2. The real property is located at 5280 SW_7th Street, Miami, FL 33134, and is more

particularly described as follows: 6 54 41 HAZELTON PARK PB 42-52 LOT 2 BLK 5 LOT
SIZE 57.000 X 103 OR 19113-2408 05 2000 1 OR 19113-2408 0500 00.

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3. At the time of the filing of this case, the value of the real property is $150,000.00 as
determined by Private Appraisal (herein Attached as Exhibit “A”).

4. Citimortgage Inc hold liens on the real property, senior to priority to Lender, securing claims
in the aggregate amount of $157,283.57.

5. (Select only one):

Xx Lender's collateral consists solely of the debtor’s principal residence. As there is no
equity in the real property after payment in full of the claims secured by liens senior
to that of Lender, the value of Lender’s secured interest in the real property is $0.

Lender's collateral is not solely the debtor's principal residence. After payment in
full of the claims secured by liens senior to that of Lender, there is equity of $

remaining in the real property. Accordingly, the value of Lender’s secured
interest in the real property is $ and the value of the Lender's unsecured,
deficiency claim is $

6. The undersigned reviewed the docket and claims register and states (select only one):

Lender has not filed a proof of claim in this case. The trustee shall not disburse any
payments to Lender unless a proof of claim is timely filed. In the event a proof of
claim is timely filed, it shall be classified as a secured claim to the extent provided in
paragraph 5, above, and as a general unsecured claim for any deficiency,
regardless of the original classification in the proof of claim as filed.

or

X Lender filed a proof of claim in this case. It shall be classified as a secured claim to
the extent provided in paragraph 5, above, and as a general unsecured claim for
any deficiency, regardless of the original classification in the proof of claim.

7. The subject real property may not be sold or refinanced without proper notice
and further order of the court.

WHEREFORE, the debtor respectfully requests an order of the Court (a) determining the
value of the real property in the amount asserted in this Motion, (b) determining the secured status
of the Lender’s lien as stated above, (c) determining that any timely filed proof of claim is
classified as stated above, (d) if Lender’s secured interest in the real property is determined to be
$0, deeming Lender's mortgage on the real property void and extinguished automatically, without
further order of the Court, upon entry of the debtor’s discharge in this chapter 13 case, and (e)
providing such other and further relief as is just.

NOTICE IS HEREBY GIVEN THAT:

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1. In accordance with the rules of this Court, unless an objection is filed with the Court and
served upon the debtor, the debtor's attorney, and the trustee at least two (2) business
days prior to the hearing scheduled on this Motion, the value of the collateral may be
established at the amount stated above without further notice, hearing or order of the
Court. Pursuant to Local Rule 3015-3, timely raised objections will be heard at the hearing
scheduled on the Motion.

2. The undersigned acknowledges that this Motion and the notice of hearing thereon must be
served pursuant to Bankruptcy Rule 7004 and Local Rule 3015-3 at least 21 days prior to
the hearing date and that a certificate of service must be filed when the Motion and notice
of hearing thereon are served.

Submitted by:

/s/ Robert Sanchez
Robert Sanchez, Esq.
Robert Sanchez, P.A.
355 West 49" Street
Hialeah, FL 33012
Tel: (305) 687-8008
Fl Bar No. 0442161

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RMO232812
Cc PMR APPRAISALS ING ee _|

 

APPRAESAL OF

 

 

 

 

A SINGLE FAMILY RESIDENCE

LOCATION 25280 SWITHST
MIAMI FL 33134

LENDER/CLIENT :PRIVATE
5280 SW 711 ST

ca
Bw
~
Ne

AS OF DATE 1037

APPRAISER : Ruben Martinez

SUPERVISORY
APPRAISER

 

 

 

 

 

 

PMR APPRAISALS INC
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PMR APPRAISALS INC
2901 SW [87TH TERRACE
MIRAMAR FL 33029
RUBEN MARTINEZ RD 7194

 
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PMR APPRAISALS INC
2901 SW 187TH TERRACH
MIRAMAR F1, 33029
RUBEN MARTINIEZ RD 7194

PRIVATE
5280 SW ITH SI

YO WHOM MAY CONCERN

In accordance with your request, | have personally
inspected and appraised the property located at:

$280 SW 7TH ST
MIAMI FL. 33134
The purpose of the appraisal was to estimate the market
value of the property, as improved. in unencumbered fee
simple tite of ownership.
The subject property consists of:

7 . Rooms.

R Bedrooms

2 Bath(s}

The RANCH Style residence contains 1.386 square fect of
Gross Living Area.

IL is my opinion that the estimated market value of the
property as of 3/27/12 Is 148,000

The above information has been automatically extracted
from the appraisal and inserted in this cover page.

Respectfully submitted,

Ruben Martine?

 

 

 

 

PMR APPRAISALS INC
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*** INVOICE ***

PMR APPRAISALS INC
2901 SW ISTTH PURRACK
MIRAMAR FI, 33029
RUBEN MARTINEZ RD 7194

Invoice 4: RM032812
Date Invoice 0327742
Yerms:

Date Due:

TO! PRIVATE
5280 SW 7TH ST

Borrower: GARCIAS & LOPEZ
For Property located at

5280 SW 7THESY
MIAMI FL. 33134

 

Fee: $ 250

THANK FOR YOU BUSINESS

Remittance Copy

Please remit payment lo: PMR APPRAISALS INC
2901 SW 187TH TERRACE
MIRAMAR FL. 33029
RUBEN MARTINEZ RD 7194

Invoice #: RMO32812
bile #: RMOIIB12
Votal Amount Due: $ pap

Amount Remitied (if different) $

 

 

 

PMR APPRAISALS INC
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Uniform Residential Appraisal Report

 

 

     
  

 

 

    

 

  

 

 

 

 

 

   

 

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AM Fannieae rice RAAUBISED
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GARCIAS & LOP Owner of Public Record GARCIAS & LOPEZ Camy MIAMI-DADE

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Assessors Parcel # U1 ~4 106-002-0426 . Tex Your 2011 RK Taxes $ 2,300.80
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Occupeny 'X Craver "Tenant | {Vacant cial Assessments $ Flr HOAS N/A | Fee year [ per month

Property Rights Appraised Pane Sample [eects [camer (describes

Assiguncnl Type fT Perchase Transaction ___f Refutance Fransaction LX Other (describe) MARKET VALUE

LeaderClivat PRIVATE Address $280 SW 7TH ST MIAMI FL 33134

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Report data seacots) used, offersng price(s). and datets} PUBLIC RECORDS /MLS

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FEMA Speont Hood Hazard Area Yes rd No FEMA Floud Zone a _ ww, PEMA Mapa 02941 FEMA Map Date 09/E 1/2009

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Additional features (special eneng efficw aeay. ce y | NO SPECIAL UNERGY EFFICIENT ITEMS NOTED, ADDITIONAL FEATURES INCLUDE
CEILING FANS, SMOKE DETECTORS, SPRINKLER SYSTEM.
eNOS, rRNA CLC } SEE TEXT ADDENDUM

 

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Coiform Residential Appraisal Renart File &
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PROPERTY. ALL COMPS ARI: SIMILAR TO THE SUBIECT PROPERTY IN TERMS OF DESIGN AND APPEAL, COMPS 12,3 IND 4
WERE SOLID) WITHIN THE LAST 45 DAYS FROM THE EFFECTIVE DATE OF THE APPRAISAL. MOST WEIGHT HAS BEEN GIVEN TO
COMPS 3,4 AND 5 BECAUSE THEY HAVE IN LAWS QUARTERS OR ADDITIONAL STRUCTURE AS SUBJECT. ALL ADJUSTMENTS
ARE. WITHIN THE FNMA GUIDELINE OF 1S AND 25 PERCENT

    

 

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Indicated Value by: Sales Comparison Appiroach 8 148,600 Cast Appriach (if developed) S 17S 400 treome Apqiroach (if developed) § N/A

MARKET RANGL IS FROM § 123,256 TO $ 159,579 WEITIT AN FSTIMATED MARKET VALUE OF $ 148,000 STRONGLY SUPPORTED
BY THE COST APPROACIE OF § 175,400. NO WEIGHT GIVEN TO INCOME APPROACH

 

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This appraisal is made LA | fsubjcct ta completion per plans and specifications an the hasis of a hy potheuical coadiuon that the improsements have bocit

complied, butjoct to the follow ing repairs or allegations on the basis of a fypotheticel condition that Ube repairs oc alterations have beau complcicd. ov
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RECONCILIATION

Bavert ont a complete visuad inspection of the intering and exterior areas of the aubjce! property, defined scape of work, statement of aaompiions and limiting
conditions, to appraiser's certification, my (our) opinion of the market valuc. as defines, of the real property that is the whject of thie report iy

S 148,000 as of G2272 bbich da the date of impcetivn and ube effective date of this annraisal

 

 

 

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Uniform Residential Appraisal Report bee  RAIO32872

 

APPRAISER PERFORMED A FULL INTERIOR / EXTERIOR INSPECTION .

 

 

RTS

ADDTTONAC TOM

 

COST APPROACH TO VALUE (not required by Fannie Mae)
Prov age auequaic infurmation for the lender/chent to replicate sour coat figures and calculanons
Support for the opinton of site value (summan of comparable land wales of other metas for osti mating ste valucy APPRAISER WAS UNABLE TO FIND ANY VACANT
LAND SALES IN THE SUBJECTS IMMEDIATE MARKETING AREA. LOT VALUE WAS YIELDED FROM ABSTRACT THE LOT VALUE
FROM THE TOTAL SALES PRICE OF SIMILARLY IMPROVED LOTS.

 

  

 

 
 

 

cS BSTIMATED 1 EREPROBUCTION OR X REPLACEMENT COST NEW lOPRMION OF SITE VALUE . “$ 70,090
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8 EXTERIOR MEASUREMENTS MADE BY APPRAISER Toul Estimate of Costr-New port vrs cewnn es . “s 178,860
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bu INCOME APPROACH TO VALUE (not required by Funnie Mae)
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PROJECT INFORMATION FOR PUDs (if applicable)
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Describe common elements and recreational fecHites

 

 

 

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Uniform Residential Appraisal Report rice = RMOR2BE2

 

This report torm is designed to report an appraisal of a one-unit property or a onc-unit property with an accessory unit,
including a und in a planned unit development (PUI) This report form is not designed tv report an appraisal of a
manufactured home or a unit in a condominium or cooperative project.

This appraisal report is subject to the following scope of wark, intended use, imended user, definition of market value,
Statement of assumptions and limiting conditions, and certifications. Modifications, additions, or deletions to the intended
use, intended user, definition of market value, ar assumptions and limiting conditions are not permitted. I'he appraiser may
expand the scope of work to include any additional research or analysis necessary based on the complexity of this appraisal
assignment. Modifications or deletions to the certifications are also not permitted. Hlowever, additional certifications that do
not constitute material alterations to this appraisal report, such as those required by law or those related to the appraiser’s
continuing education or membership in an appraisal organization. are permitted

SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
reporting requirements of this appraisal report form, including the following definitian of market valuc. statement of
assumptions and limiting conditions, and certifications. ‘The appraiser must, ata minimum: (1 ) pertorm a complete visual
inspection of the interior and exterior arcas of the subject property, (2) inspect the neighborhood, (3) inspect cach of the
comparable sales from at least the street, (4) research, verify, and analyze data from reliable public and/or private sources,

and (5) report his or her analysis. opinions. and conclusions in this appratsal report

INTENDED USE: The intended use of this appraisal report is for the lender/client to evaluate the property that is the
subject of this appraisal for a mortgage finance transaction.
INTENDED USER: The intended user of this appraisal report is the lender/client,

DEFINITION OF MARKET VALUE: ‘The most probable price which a property should bring in a competitive and open
market under all conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgcably and assuming
the price is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and
the passing of title from seller to buyer under conditions whereby: ( } buyer and seller are typically motivated, (2) both
parties are well informed or well advised, and cach acting in what he or she considers his or her own best interest, (3) a
reasonable time is allowed for exposure in the open market, (4) payment is mude in terms of cash in U.S. dollars or in terms
of financial arrangements comparable thereto; and (5) the price represents the normal consideration for the property sold
unaffected by special or creative financing or sales concessions* granted by anyone associated with the sate.

* Adjustments to the comparables musi be made for special or creative financing or sales concessions No adjustments are
necessary for those costs which are normally paid hy sellers as a result of tradition or lave in a market area: these costs are
readily identifiable since the seller pays these costs in virtually all sales transactions. Special or creative financing
adjustments can be made to the comparable property by comparisons to financing terms offered by a third party institutional
lender that is not already involved in the property or transaction. Any adjustment should not be calculated on a mechanical
dollar for dollar cost of the financing or concession but the dollar amount of any adjustnent should approximate the market's
reaction to the financing or concessions based on the appraiser’s judgment

STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS: The appraiser’s certification in this report is
subject to the following assumptions and limiting conditions

1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the tic
to it. except for information that he or she became aware of during the research involved in performing this appraisal. The
appraiser assumes that the tide is good and marketable and will not render any opinions about the tile

2. The appraiser has provided a sketch in this appraisal report to shaw the approximate dimensions of the improvements.
‘The sketch is included only to assist the reader in visualizing the property and understanding the appraiser's determination
of its size

3. The appraiser has examined the available flood maps that are provided hy the Federal Fmergency Management Agency
(or other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an
identified Special Flood Hazard Arca. Because the appraiser is not a survevor, he or she makes no guarantees. exnress or
implied, regarding this determination.

4, The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question,
unless specific arrangements to do so have been made beforehand. or as otherwise required by law

5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the
presence of havardous wastes, toxic substances, etc.) observed during the inspection of the subjeet property or that he or
she became aware of during the research invaived in performing this appraisal. Unless otherwise stated in this appraisal
report, the appraiser has no knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the
property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic substances,
adverse environmental conditions, cle.) that would make the property less valuable, and has assumed thal there are no such
conditions and makes no guarantees or warrantics. express or implied The appraiser will not be responsible for any such
conditions that do exist or for any enginecring or testing that might be required to discover whether such conditions exist.
Because the appraiser 1s not an expert in the field of environmental hazards, this appraisal report must nat be considered as
an environmental assessment of the property.

6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
completion, repairs. or alterdhions on the assumption that the completion, repairs. or alterations of the subject property will
be performed in a professional manner

 

 

 

Freddie Mac Foor 7) March 2005 Page 4 of ed Fasc Mac Form 1004 March 2004
8
Case 13-25511-AJC Doc25 Filed 11/04/13 Page 12 of 24

Uniform Residential Appraisal Report fet — RMO32812

 

APPRAISER'S CERTIFICATION: The Appraiser cctifies and agrees that:

1. Thave, ata minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in
lhis appraisal report.

2.) performed a complete visual inspection of the interior and exterior areas of the subject property. | reported the condition
of the improvements in factual, specific terms. | identified and reported the physical deficicncics that could affect the
livability. soundness, or structural integrity of the propery

3.1 performed this appraisal m accordance with the requirements of the Unilorm Standards of Protessiona! Appraisal
Practice that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in
place at the time this appraisal report was prepared.

4. | developed my opinion of the market value of the real property that is the subject of this report based on the sales
comparison approach to value. | have adequate comparable market data to develop a reliable sales comparison approach

for this appraisal assignment. { further certify thal | considered the cost and income approaches to value but did not develop
them, unless otherwise indicated in this report

5. L researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for
sale of the subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject
property for a minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report

6. | researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior
to the date of sale of the comparable sale, unless otherwise indicated in this report,

7. selected and used comparable sales that arc locationally, physically, and functionally the most similar to the subject praperty.

8. [have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home that
has been built or will be built on the land

9. Lhave reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
property and the comparable sales.

10. i verfied, from a disinterested source. all information in this report that was provided by parties who have a financial interest in
the sale or financing of the subject property.

It. thave knowledge and experience in appraising this type of property in this market area

12. 1am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing
services, tax assessment records, public land records and other such data sources for the area in which the property is located.

13, 1 obtained the information, estimates, and opinions furnished by ather parties and expressed im this appraisal report from
relabie sources that { believe to be trite and correct

14. T have taken into consideration the factors that have an impact on value with respect to the subject neighborhood. subrect
property, and the proximity of the subject property ta adverse influences in the development of my opinion of market value. f
have noted in this appraisa! report any adverse conditions (such as, hut not limited to, needed repairs, deterioration, the
presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) observed during the inspection of the
subject property or that | became aware of during the research involved in performing this appraisal. ] have considered these
adverse conditions in my analysis of the property valuc, and have reported on the effect of the conditions on the value and
marketability of the subject property.

15. LT have not knowingly withheld any significant information {rom this appraisal report and, to the best of my knowledge, all
statements and information in this appraisal report are true and correct

16, Ustated in this appraisal report my own personal, unbiased. and professional analysis, opmions, and conclusions, which
are subject only to the assumptions and limiting conditions m this appraisal report

17. Uhave no present or prospective interest in the property that is the subjcet of this report, and f have no present or
prospective personal interest or bias with respect to the participants in the transaction. | did not base, either partially or
completely, my analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age. marital
status, handicap, famihal status, or national origin of cither the prospective owners or accupants of the subject property or of the
present owners or occupants of the properties in the vicinity of the subject property or on any other basis prohibited by law.

18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not
conditioned on any agreement or understanding, wrillen or otherwise. that | would report (or present analysis supporting) a
predetermined specific value, a predetermmed minimum value, a rénge or direction in valuc. a value that favors the cause of
any party, or the attainment ofa specific result or occurrence of a specific subsequent event (such as approval of a pending
mortgage loan application).

19. | personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. {f1
relied on significant real property appraisal assistance from any individual or individuals in the performance of this appraisal
or the preparation of this appraisal report, | have named such individual(s) and disclosed the specific tasks performed in this
appraisal report. { certify that any individual so named is qualified to perform the tasks. ] have not authorized anyane to make
a change to any item in this appraisal report, therefore. any change made to this appraisal 1s unauthorized and | will take no
responsibility for it.

20. | identified the lender/chent in dus appraisal report who is the individual, organization, or agent for the organization that
ordered and will receive this appraisal report

 

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Case 13-25511-AJC Doc25 Filed 11/04/13 Page 13 of 24

Uniform Residential Appraisal Report RMO328 (2

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2). The lender/chient may disclose or distribute this appraisal report to: the borrower, another lender at the request of the
borrower: the mortgagce or Hs successors and assigns; mortgage insurers; government sponsored enterprises: other

secondary market participants: data collection or reporting services: professional appraisal organizations. any department,
agency, or instrumentality of the United States, and any state, the District of Columbia, or other jurisdictions: without having to
obtain the appraiser's or supervisory appraiser's (if applicable) consent. Such consent must be obtained before this appraisal
report may be disclosed or distributed to any other party (including, but not limited to, the public through advertising, public
relations, news, sales, or other media)

22. | am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain
laws and regulations. Further, fam also subject to the provisions of the Uniform Standards of Professional Appraisal Practice
that pertain to disclosure or distribution by me.

23. The borrower, another lender at the request of the borrower, the mortgagee or its successors and assigns, morigage
insurers, government sponsored enterprises. and other scvondary market participants may rely on this appraisal report as part
of any mortgage finance transaction that involves any one or more of these parties

24. this appraisal report was transmitted as an “electronic record” containing my “electronic signature,” as those terms are
defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
valid as if a paper version of this appraisal report were delivered containing my original hand written signature.

25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or
criminal penalties including, but not limeed to, fine or imprisonment or both under the provisions of Title 18, United States
Code, Section 1001, et seq.. or similar state laws

SUPERVISORY APPRAISER'S CERTIFICATION: The Supervisory Appraiser cettities and agrees that:

 

1. Pdirectly supervised the appraiser tor this appraisal assignment, have rcad the appraisal report, and agree with the appratser’s
analysis, opinions, statements, conclusions. and the appraiser's certification.

2. | accept full responsibility far the contents of this appraisal report including, but not limited to, the appraiser’s analysis. opinions,
statements, conclusions, and the appraiser's certification.

3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
appraisal firm). 1s qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.
4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and
promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal
report was prepared.

5. If this appraisal report was transmitted as an “electronic record” containing my “electronic signature.” as those terms are
defined in applicable federal and/or state laws (excluding audio and video recordings), of a facsimile transmission of this
appraisal report containing a copy or representation of my signature. the appraisal report shall be as cflective, enforceable and
valid as if a paper version of this appraisal report were delivered contaming my original hand written signature

 

PMR APPRAISAL INC
2901 SW 187UELTERRACE

Company Name
Company Address

MIRAMAR ee PL 32029
Telephone Number 305 244 1160 oe

Fai! Address RUBLNAPPRAISER@AOL COM.

Date of Signature and Report 03/28/42

Effective (ste of Appeatsal O3/27/12

Staie Centificaton ¢ CERT RES RD 7194

on State License # vo

ox Other (desertbe} Stare #

Sune FL.

Exprration Date of Cortfication or License 11/30/2012

ADDRESS OF PROPERTY APPRAISED

$280 SW 7TH ST

MIAM! FL BRISA
APPRAISED VAT UF OF SUBJECT PROPERTY $ 148 QU0
LENDS RACLIENT

Nan

Compan Name PRIVATE

Company Address 3280 SW FTTH ST
MIAMI

East Address

RB ERA

 

APPRAISER SUPERVISORY APPRAISER (ONLY IF REQUIRED)
Signature : Signaiwe
Neme Ruben Maninez Kame

Company Name

Company Addsess

fekcphone Number

Umut Address

Date of Sagnatare

State Certification 4 cece
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State

EXpuration Dare of Cora fication of License

SERIECT PROPERTY
1 Ord not inspect subject property

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id laspect outenor of subject property from street
_ Date of baypoctioa
[ Did inspect ratertor and exterior of subject properts
Date of inspeckon
COMPARABLE SALES
oa Did sex respect exterior of comparable sales from surect
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Case 13-25511-AJC Doc25 Filed 11/04/13 Page 14 of 24
SUPPLEMENTAL SALES 4 5 6 ADDENDUM

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KAMO328 12

 

SALES COMPARISON APPROACH

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FEATURE | SUBJECT COMPARABLE SALE #4 COMPARABLE SALE & COMPARABLL SALE &
Address $280 SW 7TH ST 40 SW 52TH CT 5570 SW 7TH ST
MIAMI MIAML FL MIAMI Fi
Proxinin te Subject 0.55 MILES OTL MILES ve cess
Sake Price s NIA a £ 150.000) s 163.909) s
Sate Price/Grosy Liv Arca {S$ Oso nis 93.75 sq a $ 90.01 sa. $ sq fh
Lata Soureeis) PUBLIC RECORDS PUBLIC RECORDS
Verification Sourests) MLS # A1600061 MLS # 41495234
VALUE ADJUSTMENTS DESCRIPTION DESCRIPTION 4-9 § Adjustment DESCRIPTION “CS Adjusiment DESCRIPTION +). $ Adjustment
Sale or Financang CASH CONV
Concessions NIA NIA
Date of Sule’Time 02/28/12 B) F/30041 0
Location SUBURBAN SUBURBAN QO SUBURBAN 9
LeascholdFec Simp: FEE SIMPLE fEE SIMPLE FEE SIMPLE
Site 5,871 SF §.650 SF 0) 5,200 SF 0
View JTHLER HOUSES OTHER HOUSES 0} OTHER HOUSES Q
Design (Stvte) ANCHIAVG RANCHIAVG 0] RANCHIAVG 0
Chality of Consmastios | KOBS/AVG CBS/AVG 0} CBS/AVG Q
Actual Age 68 YEARS 65 YRS . Q)| 62 YRS 8
Condinon AVERAGE AVERAGE OQ) AVERAGE 0
Above Grade tol Bdrins Baths | Total [ Bdrins | Badts GO} Toat | Bdrms | Baths Ol teat | Berns | Bais
Room Count 3 3 2 ? 3 2 a 7 3 3 -4,009
Cross Living Arcs [3,386 sq A 1,600 sa f 6,420 1.811 se ti 12,750 wt
Basement & Finished OFVFICE/ADDSTRUC] IN LAWS. OF IN LAWS 0
Rooms Below Grade INIA NA NIA
Functional Utduy STANDARD STANDARD 0! STANDARD 0
HeaunyCosting CENTRAL. HA CENTRAL HIA 0} CENTRAL H/A 8
Energy, Efficient hems STANDARD STANDARD STANDARD
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INO POOL NO POOL NQ POOL
Net Adjustment (Texai) i LXE $ 6.420 [ i | x}. 5 -16,750 | he Lo. 5
Adjusted Sate Price Net Adi 4.28% Net Adj 10.28 %, Net Ad:
of Comparatitos Geos Adj 4.28 ~, fy 143,580] Gross Adi 10.28 os Is 146,250} Gross Ads re IS
PTE MS SUBIFCE COMPARABLE SALE & 4 | COMPARABLE SALE @ 5 COMPARABLE SALE # G
Date of Prior Sate’ Fransfer NIA INIA INIA
Price of Prior SalecTransfer NVA NIA Inia
Vas Sourcetsi PUBLIC REC PUBLIC RECORDS PUBLIC RECORDS
Effective Date of Data Source(s) 3/272 272 O3/2712

Analysis of prior sale or transfer histon of the sudyoct property and cumparablc sates

Summary of Sales Comparison Approach

 

 

PMR APPRAISALS INC

 
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TEXT ADDENDUM File No. RM032812
Borrower: GARCIAS & LOPEZ
Property Address: 5280 SW 7TH ST County: MIAMI-DADE
(City: MIAMI State: FL Zip Code: 33134 |

(Lender: PRIVATE

 

Factors Affecting Marketability

NO NEGATIVE FACTORS AFFECTING THE SUBJECT PROPERTY OR IMMEDIATE AREA. SUBJECT IS NEAR
LARGER ROADS AND HIGHWAYS SUCH AS, SW 67TH AVENUE, SW 8TH STREET, SW 16TH STREET AND SW
T2ND AVENUE, WHICH PROVIDE EASY ACCESS TO AMENITIES SUCH AS EMPLOYMENT EDUCATION AND
SHOPPING. LOCATED IN A NEIGHBORHOOD OF AVERAGE CBS QUALITY CONSTRUCTION SINGLE FAMILY
HOMES. EMPLOYMENT IS STABLE AND APPEAL TO MARKET IS FAVORABLE,

Market Conditions

CURRENT MARKET CONDITIONS ARF IN DECLINE. SUBJECT PROPERTY IS LOCATED IN AN AREA OF
DECLINING VALUES, APPRAISER RESEARCHED SALES DATA FOR THE PAST 18 MONTHS, APPRAISER
NOTED A STEADY DECLINE OF SALES PRICES. COST OF FINANCING IS RELATIVELY STABLE AND AT
COMPETITIVE RATES. MOSTLY CONVENTIONAL FINANCING WITIL SOME FHA FINANCING.

Borrower

GARCIAS, ELIAS & LOPEZ, DAMARIS

Describe the condition of the property {including needed repairs, deterioration, renovations, remodeling, etc.).
SUBJECT OWNER HAS PROPERLY MAINTAINED SUBJECT PROPERTY. NO PHYSICAL OF FUNCTIONAL
OBSOLESCENCE NOTED AT THE TIME OF INSPECTION. NO VALUE GIVEN TO ANY PERSONAL PROPERTY
OF FURNITURE. SUBJECT PROPERTY HAS AN ATTACHED 120 SF OF ADDITIONAL LIVING AREA,
ADDITIONAL STRUCTURE HAS A FRAME EXTERIOR WALL AND FLAT ROOF THIS AREA DOES NOT
APPEAR TO HAVE ADDED WITH PERMITS, THIS AREA IS NOT INCLUDED IN GLA AND THE FINAL
DETERMINATION OF VALUE, PREVIOUS OWNER CONVERTED SUBJECT CARPORT INTO A OFFICE WITH
ONE BATHROOM, FLOOR LEVEL OF THE CONVERTED CARPORT IS SLIGHTLY LOWER THAN THE FLOOR
LEVEL OF THE SUBJECT PROPERTY. THIS AREA IS NOT INCLUDED IN LIVING AREA AND THE BATHROOM
IS NOT INCLUDED IN THE MAIN ROOM COUNT OF THE SUBJECT.

THE INTENDED USER OF THIS APPRAISAL REPORT IS THE LENDER/CLIENT/FHA/HUD. THE INTENDED USE
iS TOEVALUATE THE PROPERTY THAT IS THE SUBJECT OF THIS APPRAISAL FOR A MORTGAGE
FINANCE TRANSACTION, SUBJECT TO THE STATED SCOPE OF WORK, PURPOSE OF THE APPRAISAL.
REPORTING REQUIREMENTS OF THIS APPRAISAL REPORT FORM, AND DEFINITION OF MARKET VALUE.
NO ADDITIONAL INTENDED USER ARE IDENTIFIED BY APPRAISER.
Case 13-25511-AJC Doc 25 Filed 11/04/13

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SKETCH ADDENDUM File Noo RMO32812
Borrower GARCIAS & LOPEZ |
Property Address 5280 SW TTEHUST a. .
City MIAMI Connty MIAMI-DADE State FL Zip Code 33434 i
LenderCHent PRIVATE |
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BEDROOM 8
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a LIVING ROOM
BATH
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Comments
AREA CALCULATIONS SUMVARY UMING AREA BREAKDOWN
Code Description Gz Net Totals Preakdown Subtotais
GLAL Pirat Floor 4386.00 1386.00 Firet Ploor
ore COVD GARAGE 232.00 18.0 x 34S 622.00
ADOYTIONAL STRUCTURE 120.00 352.00 23.0 x 35.0 692.00
6.0 _ 18.0 72.90
TOTAL LVABLE (rounded) 4386 3 Cakutations Toa (founded) 1386

 

 

 

 

 

 

 

 

 

 

PMR APPRAISALS INC
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SUBJECT PHOTOGRAPH ADDENDUM

 

 

 

 

RMO32812
Sorrower = GARCIAS & LOPEZ
Property Address S280 SW 7TH ST . .
City MIAME County MIAME-DADE State FL ZipCode  F3R4
enderClicat PRUVATE
FRONT OF

 

SUBIECT PROPERTY

 

REAR OF
SUBJECT PROPERTY

 

STREET SCENE

 

PMR APPRAISALS INC
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INTERIOR PHOTOGRAPH ADDENDUM

 

 

 

RMO328 12
b Borrower / Client GARCIAS & LOPEZ .
Property Address 8280 SW TTH ST . . .
1 City MIAMI Coun MIAMI-DADL State FL Zip Code 33134
| Lender’ tient PRIVATE
KITCHEN

 

LIVING

 

BATHROOM

 

 

  

aa
PMR APPRAISALS INC

 
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COMPARABLES PHOTOGRAPH ADDENDUM

RMORARI2

 

Horrower  GARCIAS & LOPEZ
Property Address S280 SW 7TH ST
City MIAME : Couny MIAMLDADE.
LenderChent PRIVATE

 

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PMR APPRAISALS INC

COMPARABLE SALE 4 |
4763 SW STH TER

MIAMI, FL.

Date af Sale 03/26/12

Sale Price 163.699
Sq.Ft 1.690
$/Sq Fr 96,86

COMPARABLE SALE #2
4921 NW 4TH ST

MIAMI, FI.

Date of Sale 02/28/12

Sale Price 156.500
Sq. FU 1.496
$F 8g. Ft Hol

COMPARABLE SALE #3
S560 SW ITH ST

MIAME, FL

Date of Sale G2 FOF 72

Sale Price 429,000
Sq fs 184th
$7 Sq Fi 85.37
Case 13-25511-AJC Doc25 Filed 11/04/13 Page 20 of 24

COMPARABLES 4 § 6 PHOTOGRAPH ADDENDUM

RAGO32R ID

 

City MIAMI

Borer GARCIAS & LOPEZ
hsopery Address 5280 SW 7TH ST

Leader/Clent PRIVATE

County

MIAMI-DADE

State

33434

 

 

 

 

 

 

 

 

 

 

 

 

 

PMR APPRAISALS INC

COMPARABLE SALE #4
40 SW STITH CT

MIAMI, FL

Date of Sale 02/2852

Sale Price 158.000
Sq.ft 1,600
$7 Sq FL 93.75

COMPARABLE SALE # &
5470 SW 7TH ST

MIAMI, FL

Date of Sale NBONT

Sale Price 163,000
Sq Ft 1an
$/Sq Ft 9.01

COMPARABLE SALE #6

Date of Sale
Sale Price
Sq. Fe
S2Sq. Ft
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LOCATION MAP ADDENDUM

RMOR28 12

 

 

 

 

 

 

 

  
  

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

Borrower GARCIAS & LOP!
Property Address 5280 SW 7 . -
City MLAMIE County MIAMI-DADE State FL. Ap Code 33134
Lender/Chient PRIVATE.
44h! e
iv ! cGetay Beach
Boca Raton |
i; 2°
i __Deertiata Beach
Coral Springs Sel ;
: o «Cwoormt Creek
Margate ~ 4 Pompanc Beach
. gunvise | Teenarae
tee > oo o
GR _ baderhiti | 2 5
8 Plantation FOr Lauderdale
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& 2004 ESRI, GDI $3
COMPARABLE SALES INFORMATION
COMPARABLE SALE #1 COMPARABLE SALE #6
Address; 4763 SW STH TER Address
Date of Sales = 03/2612 Sale Price 163,099) nee of Sale, Sate Pre
Room Count + Total 5] Bedrooms 2| Baths 2] Room Coant - Total Bedrooms fhaabs:
Ciross Living Arca’ $690 . Gross Living Ares:
Prowmib ty Subst. O43 MILES. Pronamity to Sebject
COMPARABLE SALE 82 COMPARABLE SALE 87
Address: 4921 NWATHST . : Address oy .
Dae ofSale 02/28/12 a [st Price 156, S00] Date of Sale iSole Pace .
Roce Coord. Toad _ if a ah Dace Cee Tort __ HBedrouens loos
Cross Livy Arca . 1,496 Gross Living Avea
Provimity to Subycct 0.75 MILES Proaimi¢s to Subject
COMPARABLE SALE #3 COMPARABLE SALE #8
Adinss. = 5SG0 SW ITH SE Address
Mare ofSate 02/10/12 Sale Price 129.000] Date of Sate Sale Price
Room Count - Toral 7 | Bodroners Aferaths 2.5] Rew Count - Total Bedrooms Baths
Gross Living Arca LSbk Gross Lavin Arca
Proxmmin to Subject, 0.10 MILES Provunity to Subject
COMPARABLE SALE #4 COMPARABLE SALE #9
Address 40 SW S7TH CT Auldress
Date of Sake 02/28/12 Sale Pre 150,000 pate a Sate I sate Pace
Room Count - {otal 7) Gedtoors 3) Barks 2} Room Count - Tat Bedrooms Heats
Grogs Living, Aseg 1,600 Gross Living Arca
Proximety to Subject 0.55 MILES Proximity to Subject
COMPARABLE SALE #5
Address «9570 SW 7TH ST
Date of Sale THIO/T1 Sales Price 163.000
Roum Couns - Fos! . 7) Pedeooon. 3iaths 3
Gross Living Arca 181
[Proxansity to Subect, 0. MILES

 

 

 

PMR APPRAISALS INC

 
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FLOOD MAP

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RAORIBE?
Borrower/Client — GARCIAS & LOPEZ
Property Address $280 SW 7TH ST.
City MIAMI

 

 

. Couty  MIAMEDADE Site FL ZipCode 33144

Lender‘Client PRIVATE .
SFA (Fleod Zone) Is the property within 250 feet of multiple Flood Zones? **
Out No
Community Community Name Zone Panel Panel Date
120680 MIAME CITY OF x 02941. O9/E 1/2009
FIPS Code Census Tract
12086

SRO}

 

 

 

 

 

 

 

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FioodMap Legend

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** Determinations for properties within 250 feet of a Mood zone may require additional research.

PMR APPRAISALS INC
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Lender/Client PRIV ATE

AERIAL MAP ADDENDUM RMOI2B12
!
i
i Borrower GARCIAS & LOPEZ.
Property Address S280 SW TTL ST : . .
| City MIAMI County MIAMLDADE State Fi. ZipCode = 33134
i

 

 

 

 

PMR APPRAISALS INC
Case 13-25511-AJC Doc25 Filed 11/04/13 Page 24 of 24
ADDITIONAL ATTACHMENT RMOAI2

Borrower  GARCIAS & LOPEZ
Property Address 5280 SW TTHST . .
City MUAML _ County MIAMI-DADE Stare FL, _ Zap Code 33134

Lender/Client PRIVATE . .

 

 

NAVIGATORS INSURANCE COMPANY
THIS 1S BOTH A CLAIMS MADE AND REPORTEO INSURANCE POLICY
B45 PULICY SPOUIES TO THOSE COMMS THAT ARE SIRS) MADE AGAINST FHE INSURED AND REPO TES
WEHTING TO TRE COMPANY DURING THE POLICY PERIOD
PLEASE READ THIS POLICY CAREFULLY.
REAL ESTATE APPRAISERS ERRORS AND OMISSIONS INSURANCE POLICY
DECLARATIONS

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